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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,
                                                19 Cr. 561 (LAP)
    -versus-
                                                      ORDER
STEVEN DONZIGER,

                  Defendant.


LORETTA A. PRESKA, SENIOR UNITED STATES DISTRICT JUDGE:

    The Court is in receipt of Mr. Donziger’s request for a

conference.     (Dkt. no. 67.)     Counsel shall confer and inform the

Court by letter no later than May 14 of how they propose to

proceed, including but not limited to whether they wish to be

heard further about the potential sentence and fine if Mr.

Donziger is convicted, whether they anticipate making motions in

limine and the nature of any such motions, and the anticipated

length of the trial, either bench or jury.

     Counsel shall appear for a telephonic conference on May 18

at 11:30 a.m.     The dial-in for the conference is (888) 363-4734,

access code: 4645450.

SO ORDERED.


Dated:    May 7, 2020
          New York, New York


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                                          LORETTA A. PRESKA, U.S.D.J.
